        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_______________________________________
                                       )
NORRIS WILLIAMS,                       )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )                     Civil Action No. 19-0104 (RBW)
                                       )
DEPARTMENT OF JUSTICE,                 )
                                       )
            Defendant.                 )
_______________________________________)


                         MEMORANDUM OPINION AND ORDER

       The plaintiff brings this action under the Freedom of Information Act (“FOIA”), see 5

U.S.C. § 552. This matter is before the Court on the Defendant’s Motion for Summary Judgment

(ECF No. 33) and the plaintiff’s Motion to Strike Defendant’s Request for Summary Judgment

(ECF No. 35), construed by the Court as the plaintiff’s opposition to the defendant’s motion for

summary judgment. For the reasons discussed below, the Court grants the defendant’s motion in

part and denies the motion in part without prejudice.

I. BACKGROUND

       The plaintiff submitted a FOIA request to the Drug Enforcement Administration

(“DEA”), a component of the United States Department of Justice (“DOJ”), on January 15, 2018,

seeking ‘“a full copy’ of DEA’s file related to [the plaintiff] and/or Criminal Case 2:15-cr-

00149-SPC-MRM-1.” Defendant’s Statement of Undisputed Material Facts (ECF No. 33,

“SMF”) ¶ 1. The DEA’s first search yielded 45 pages of responsive records, all of which were

withheld in full under Exemption 7(A). Id. ¶ 3.




                                                  1
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 2 of 15




       The DEA filed its first summary judgment motion (ECF No. 12) on May 17, 2019,

asserting that all of the responsive records properly were withheld in full under Exemption 7(A)

because an appeal of the plaintiff’s criminal case was then pending in the United States Court of

Appeals for the Eleventh Circuit. Alternatively, the DEA argued that Exemptions 7(C), 7(D),

7(E) and 7(F) also justified withholding these records in full. On January 8, 2020, the Court

issued a Memorandum Opinion and Order (ECF No. 20) denying the motion in part without

prejudice. The Court issued that ruling because it was not clear that Exemption 7(A) still

applied, and if the Court were to consider the DEA’s alternative bases for withholding

information, the DEA had not justified its decisions to withhold the records in full under

Exemptions 7(D), 7(E) and 7(F).

       DEA staff subsequently reprocessed the 45 pages of responsive records. SMF ¶ 5;

Declaration of Angela D. Hertel (ECF No. 33-1, “Hertel Decl.”) ¶ 10. It was also discovered that

additional responsive records existed but had not been retrieved and processed. SMF ¶ 5.

Thereafter, the DEA released to the plaintiff 84 pages in full, released 192 pages in part,

withheld 59 pages in full, and withheld 6 audio/video files in full, relying on Exemptions 6, 7(C),

7(D), 7(E), and 7(F). Id.

II. DISCUSSION

       A. Legal Standard

       “FOIA requires federal agencies to disclose, upon request, broad classes of agency

records unless the records are covered by the statute’s exemptions.” Students Against Genocide

v. U.S. Dep’t of State, 257 F.3d 828, 833 (D.C. Cir. 2001). In a FOIA action, the defendant

agency has “[the] burden of demonstrating that the withheld documents are exempt from

disclosure.” Boyd v. U.S. Dep’t of Justice, 475 F.3d 381, 385 (D.C. Cir. 2007) (citation omitted).



                                                 2
         Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 3 of 15




       “[T]he vast majority of FOIA cases can be resolved on summary judgment.” Brayton v.

Office of U.S. Trade Representative, 641 F. 3d 521, 527 (D.C. Cir. 2011). Courts will grant

summary judgment to an agency only if the agency can prove “that it has fully discharged its

obligations under [ ] FOIA, after the underlying facts and the inferences to be drawn from them

are construed in the light most favorable to the FOIA requester.” Friends of Blackwater v. U.S.

Dep’t of Interior, 391 F. Supp. 2d 115, 119 (D.D.C. 2005) (citation omitted). Thus, in a lawsuit

brought to compel the production of documents under the FOIA, “an agency is entitled to

summary judgment if no material facts are in dispute and if it demonstrates ‘that each document

that falls within the class requested either has been produced ... or is wholly[, or partially,]

exempt [from disclosure].’” Students Against Genocide, 257 F.3d at 833 (omission in original)

(quoting Goland v. CIA, 607 F.2d 339, 352 (D.C. Cir. 1978)). “In ruling on summary judgment,

courts may rely on non-conclusory agency affidavits demonstrating the basis for withholding if

they are not contradicted by contrary evidence in the record or by evidence of the agency’s bad

faith.” Reporters Comm. for Freedom of the Press v. FBI, 3 F.4th 350, 361 (D.C. Cir. 2021)

(citing Shapiro v. Dep’t of Justice, 893 F.3d 796, 799 (D.C. Cir. 2018)).

       B. The DEA’s Searches for Responsive Records

       An agency “fulfills its obligations under [the] FOIA if it can demonstrate beyond material

doubt that its search was reasonably calculated to uncover all relevant documents.” Ancient Coin

Collectors Guild v. U.S. Dep’t of State, 641 F.3d 504, 514 (D.C. Cir. 2011) (citation and internal

quotation marks omitted). The agency may submit affidavits or declarations to explain the

method and scope of its search, see Perry v. Block, 684 F.2d 124, 127 (D.C. Cir. 1982), and such

affidavits or declarations are “accorded a presumption of good faith, which cannot be rebutted by

purely speculative claims about the existence and discoverability of other documents,” SafeCard



                                                   3
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 4 of 15




Servs., Inc. v. SEC, 926 F.2d 1197, 1200 (D.C. Cir. 1991) (citation and internal quotation marks

omitted).

       In its Investigative Reporting and Filing System (“IRFS”), the DEA maintains “criminal

law enforcement investigative records,” including “[r]ecords from other DEA record systems

that are related to an individual’s involvement in, or association with, a DEA intelligence

operation or civil, criminal, or regulatory investigation[.]” Declaration of Kelleigh A. Miller

(ECF No. 33-1, “Miller Decl.”) ¶ 6. Information is retrieved from IRFS using the Narcotics and

Dangerous Drugs Information System (“NADDIS”), “an electronic data index system and the

practical means by which DEA identifies records in IRFS across all of [the] DEA’s offices

worldwide.” Id. ¶ 7. Using search terms such as an individual’s name, Social Security number

or date of birth, a NADDIS query yields “an abstract of information, such as an investigative file

number, investigative report number, or other record identifier by which to locate any existing

IRFS records . . . linked to the individual.” Id.; see id. ¶¶ 8-9. The DEA’s declarants state that

IRFS is the only system of records reasonably likely to contain records responsive to the

plaintiff’s FOIA request. See id. ¶ 18; Hertel Decl. ¶ 18.

       A NADDIS search using the plaintiff’s name as a search term identified two files

maintained at the DEA’s Miami Division. See Miller Decl. ¶¶ 15-16. One file, related to the

plaintiff’s arrest in 2000, “had been destroyed in accordance with the Preservation of Records

authority, 28 C.F.R. § 16.48.” Id. ¶ 17. The second file, which pertained to the criminal case the

plaintiff identified in his FOIA request, was retrieved from the Miami Division. Id.

       That second file contained 45 pages of responsive records. See Hertel Decl. ¶¶ 9, 11.

The DEA released to the plaintiff 37 of these pages in part and withheld 8 pages in full. Id. ¶ 11.

On further review of these 45 pages, DEA staff “discovered . . . several reports indicat[ing there



                                                 4
         Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 5 of 15




were] additional records that . . . had not [been retrieved] from the Miami Division.” Id. ¶ 12.

The complete file was retrieved from the Miami Division in February 2020, and associated

photographs and video recordings were retrieved in March 2020. See id. ¶¶ 13-14. DEA staff

then processed six audio/visual files and 290 pages of records in addition to the 45 pages that had

been initially located. Id. ¶ 15. In June 2020, the DEA released to the plaintiff 84 pages in full,

released 155 pages in part, withheld 51 pages in full, and withheld the six audio/visual files in

full. Id. ¶ 16. In total, the DEA released to the plaintiff 84 pages in full, 192 pages in part,

withheld 59 pages in full, and withheld the six audio/video files in full. Id. ¶ 17.

       One of the DEA’s declarants acknowledges the agency’s failure to retrieve the entire file

from the Miami Division during the first the first search. See Hertel Decl. ¶ 19. However, the

error has been remedied, and the Court accepts the DEA’s representation that all the responsive

records have now been retrieved and processed. See id.

       The plaintiff is under the impression that the Court’s January 8, 2020, Memorandum

Opinion and Order directed the DEA “to turn over all/ documents that were in [its] possession.”

Pl.’s Opp’n at 1 (page numbers designated by CM/ECF).1 He is mistaken. The Court’s

conclusion that the DEA initially failed to meet its burden on summary judgment does not

require the release in full of responsive records. Rather, the DEA was afforded a second

opportunity to describe its search for responsive records and to justify its decisions to withhold

information under the claimed exemptions.

       The adequacy of the DEA’s search depends on its scope and methods, not its results. See

Iturralde v. Comptroller of Currency, 315 F.3d 311, 315 (D.C. Cir. 2003). Here, the DEA has



1
  As stated above, the Court construes the plaintiff’s “Motion to Strike Defendants [sic] Request
for Summary Judgment” as his opposition (“Pl.’s Opp’n”) to the DEA’s motion for summary
judgment.
                                                  5
         Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 6 of 15




demonstrated that its searches were adequate, and the plaintiff’s challenge to the DEA’s refusal

to release all of the responsive records in full is rejected.

        C. Exemption 7

                1. Law Enforcement Records

        Exemption 7 protects from disclosure “records or information compiled for law

enforcement purposes,” but only to the extent that disclosure of such records would cause an

enumerated harm. 5 U.S.C. § 552(b)(7); see FBI v. Abramson, 456 U.S. 615, 622 (1982). “To

show that . . . documents were compiled for law enforcement purposes, the [agency] need only

establish a rational nexus between the investigation and one of the agency’s law enforcement

duties and a connection between an individual or incident and a possible security risk or

violation of federal law.” Blackwell v. FBI, 646 F.3d 37, 40 (D.C. Cir. 2011) (internal quotation

marks and citations omitted).

        Here, one of the declarants explains that the DEA derives its investigative jurisdiction

from the Controlled Substances Act, see 21 U.S.C. § 801 et seq., which authorizes “the

investigation of incidences involving the trafficking in controlled substances, dangerous drugs,

and precursor chemicals.” Hertel Decl. ¶ 23. And, the declarant represents that the DEA’s

“mission involves conducting criminal investigations to assist prosecutions of organizations and

principal members of organizations involved in the growing, manufacture, or distribution of

controlled substances appearing in or destined for illicit traffic in the United States.” Id. ¶ 4.

        The “[p]laintiff [currently] is serving a sentence of 360 months imprisonment for his

conviction for distributing heroin and possessing heroin with intent to distribute, in violation of

21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and for attempting to possess a kilogram or more of heroin

with intent to distribute, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(i), and 21 U.S.C. §



                                                    6
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 7 of 15




846.” Defendant’s Statement of Material Facts Not In Genuine Dispute (ECF No. 12-2) ¶ 2. The

same declarant states that the responsive records pertain to the DEA’s investigation of the

plaintiff for violation of the Controlled Substances Act, Hertel Decl. ¶ 23, thus demonstrating

that the records fall within the scope of Exemption 7.

               2. Exemption 7(C)

       The DEA applies Exemption 6 in conjunction with Exception 7(C) as to “a number of

records,” Hertel Decl. ¶ 26, to protect the names of and personal identifying information about

third parties involved or associated with the plaintiff and the law enforcement investigation into

the plaintiff’s activities, see id. ¶ 25. These third parties include “law enforcement personnel,

witnesses, suspects, co-defendants, and confidential sources of information.” Id. “When

information is claimed to be exempt from disclosure under both provisions, courts ‘focus . . . on

Exemption 7(C) because it provides broader privacy protection than Exemption 6 and thus

establishes a lower bar for withholding material.’” Citizens for Responsibility & Ethics in

Washington v. U.S. Dep’t of Justice, 854 F.3d 675, 681 (D.C. Cir. 2017) (quoting Citizens for

Responsibility & Ethics in Washington v. U.S. Dep’t of Justice, 746 F.3d 1082, 1091 n.2 (D.C.

Cir. 2014)); Archibald v. U.S. Dep’t of Justice, 950 F. Supp. 2d 80, 86 (D.D.C. 2013) (“[I]t is

sufficient to consider only Exemption 7(C), because if the defendants are not excused from

disclosure under the heightened privacy protection of Exemption 7(C), then neither will they be

excused under Exemption 6.”), aff’d, No. 13-5190, 2014 WL 590894 (D.C. Cir. Jan. 28, 2014).

       Exemption 7(C) protects “records or information compiled for law enforcement purposes,

but only to the extent that the production of such law enforcement records or information . . .

could reasonably be expected to constitute an unwarranted invasion of personal privacy.” 5

U.S.C. § 552(b)(7)(C). “In order to trigger the balancing of public interests against private



                                                 7
         Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 8 of 15




interests, a FOIA requester must (1) show that the public interest sought to be advanced is a

significant one, an interest more specific than having the information for its own sake, and (2)

show the information is likely to advance that interest.” Boyd, 475 F.3d at 387 (quoting Nat’l

Archives & Records Admin. v. Favish, 541 U.S. 157, 172 (2004)) (internal quotation marks

omitted).

        The Court previously observed that, on review of the DEA’s first supporting declaration,

see Miller Decl. ¶¶ 29-31, the DEA properly withheld the names of and other identifying

information about law enforcement personnel, witnesses, suspects, co-defendants and

confidential sources appearing in the investigative records deemed responsive to the plaintiff’s

FOIA request. See Mem. Op. and Order, Williams v. Dep’t of Justice, No. 1:19-CV-0104

(D.D.C. Jan. 8, 2020) at 8. Similarly, on review of the DEA’s second declaration, see Hertel

Decl. ¶¶ 25-31, the Court now concludes that the DEA properly withheld information about third

parties, among whom are “law enforcement personnel, witnesses, suspects, co-defendants, and

confidential sources of information,” id. ¶ 25, from the responsive records. The DEA having

identified the third parties’ privacy interests, see id. ¶ 26, they prevail in light of the plaintiff’s

failure to show a public interest that outweighs the privacy interests of those individuals.

        The District of Columbia Circuit has held “categorically that, unless access to the names

and addresses of private individuals appearing in files within the ambit of Exemption 7(C) is

necessary in order to confirm or refute compelling evidence that the agency is engaged in illegal

activity, such information is exempt from disclosure.” SafeCard Servs., 926 F.2d at 1206. The

DEA has met its burden, and the Court concludes that the names of and identifying information

about third parties mentioned in the responsive records properly are withheld under Exemption

7(C).



                                                    8
         Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 9 of 15




               3. Exemption 7(D)

       Exemption 7(D) protects from disclosure those records or information compiled for law

enforcement purposes that

               could reasonably be expected to disclose the identity of a
               confidential source . . . [who] furnished information on a
               confidential basis, and, in the case of a record or information
               compiled by criminal law enforcement authority in the course of a
               criminal investigation . . . , information furnished by a confidential
               source.

5 U.S.C. § 552(b)(7)(D). “A source is confidential within the meaning of exemption 7(D) if the

source provided information under an express assurance of confidentiality or in circumstances

from which such an assurance could be reasonably inferred.” Williams v. FBI, 69 F.3d 1155,

1159 (D.C. Cir. 1995) (per curiam) (citing DOJ v. Landano, 508 U.S. 165, 170-74 (1993))

(internal quotation marks omitted). There is no general “presumption that a source is

confidential within the meaning of [FOIA] Exemption 7(D) whenever [a] source provides

information [to a law enforcement agency] in the course of a criminal investigation.” Landano,

508 U.S. at 181. Where an agency does not grant an express assurance of confidentiality to its

sources, “courts consider a number of factors to determine whether the source nonetheless spoke

with an understanding that the communication would remain confidential,” Roth v. DOJ, 642

F.3d 1161, 1184 (D.C. Cir. 2011) (internal quotation marks and citation omitted), including

“[t]he nature of the crime . . . investigated and the source’s relation to it,” Landano, 508 U.S. at

180.

       The DEA relies on Exemption 7(D) in conjunction with Exemptions 6, 7(C), 7(E), and

7(F) to withhold information about sources to whom the DEA conferred an express or implied

assurance of confidentiality. See Hertel Decl. ¶¶ 32-35. One of its declarants explains that



                                                  9
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 10 of 15




certain of these sources were “registered, or ‘coded,’ confidential sources” to whom the DEA

“assigned an identity code” and offered “express assurances . . . that their identit[ies] and the

information they provide[d] is confidential.” Id. ¶ 32. With regard to the other sources, the

declarant asserts that the “facts and circumstances” of this case show that confidentiality can be

implied. See id. ¶ 33. She explains that the sources were “involved, and maintained a close

relationship with, several individuals who trafficked in illegal drugs and engaged in other drug-

dealing and illegal activities.” Id. Further, she states that information provided by these sources

pertained to the plaintiff’s and other individuals’ drug trafficking activities, such that it is

reasonable to “presume[] that [they] would not have provided . . . information unless they

believed that the information and their identit[ies] would be held in confidence and not released

to Plaintiff or the public[.]” Id. Lastly, the declarant explains that disclosure of confidential

sources “could jeopardize DEA operations” because the agency relies on “continued cooperation

of confidential sources [in] investigations and . . . development of criminal intelligence.” Id. ¶

35. Given “the nature of DEA’s criminal investigations,” the declarant states, “any information

that could identify an informant could subject [him or her and] [his or her] family members and

associates, to serious harm, substantial repercussions, and possibly even death.” Id.

        Although the DEA declaration is short on details, the Court is nonetheless persuaded that

both the “coded” confidential sources and the other sources are entitled to Exemption 7(D)’s

protection. Courts in this Circuit recognize that trafficking illegal drugs carries with it violence

and risk of retaliation if sources are known to have cooperated with law enforcement. See Mays

v. DEA, 234 F.3d 1324, 1329 (D.C. Cir. 2000) (finding that “violence and risk of retaliation”

attendant to distribution of crack and powder cocaine “warrant an implied grant of

confidentiality” to “the cooperating individual [who] supplied information about a conspiracy to



                                                   10
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 11 of 15




distribute” these drugs). In compliance with that precedent, the Court concludes that the DEA

properly withholds the identities of its sources and the information they provided in the course of

the investigation of the plaintiff and his drug trafficking activities. See, e.g., Kowal v. U.S. Dep’t

of Justice, No. 18-CV-938, 2021 WL 3363445, at *5 (D.D.C. Aug. 3, 2021) (inferring assurance

of confidentiality where sources “were involved, and maintained a close relationship with,

several individuals who trafficked in and engaged in other drug-dealing and illegal activity and

that the information they provided related to the trafficking”); Garza v. U.S. Marshals Serv., No.

16-CV-0976, 2018 WL 4680205, at *15 (D.D.C. Sept. 28, 2018) (recognizing the courts’

extension of Exemption 7(D) protection to sources “involved, and maintained a close

relationship with, several individuals who trafficked in cocaine and engaged in other violent and

illegal activities,” and who provided information “related to the illicit trafficking in drugs by the

[p]laintiff and others”), aff’d sub nom. Garza v. United States Marshals Serv., No. 18-5311, 2020

WL 768221 (D.C. Cir. Jan. 22, 2020); Cooper v. U.S. Dep’t of Justice, 169 F. Supp. 3d 20, 40

(D.D.C. 2016) (concluding “that the source of the redacted information is protected by

Exemption 7(D), as it is reasonable to infer that the information provided was in connection with

the DEA’s drug importation and distribution investigation of the plaintiff”).

               4. Exemption 7(E)

       Exemption 7(E) protects from disclosure law enforcement records “to the extent that the

production of such . . . information . . . would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

investigations or prosecutions . . . if such disclosure could reasonably be expected to risk

circumvention of the law.” 5 U.S.C. § 552(b)(7)(E).




                                                  11
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 12 of 15




        Under Exemption 7(E), the DEA withheld in full 57 pages of records which “discussed

and outlined techniques and procedures used to investigate [the plaintiff],” Hertel Decl. ¶ 37, and

withheld in full six audio/visual files “document[ing] the surveillance of [the plaintiff] during the

drug trafficking investigation,” as well as “recordings of undercover operations,” id. ¶ 38. From

various forms, see id. ¶ 39, the DEA redacted Geo-Drug Enforcement Program (“G-DEP”)

identifiers from which an individual could learn the “priority given to narcotics investigations,

types of criminal activities involved, and violator ratings,” id. ¶ 40, and other investigation

information, including “DEA file numbers, specific information regarding meetings and

debriefings with confidential and other sources, as well as related files, NADDIS numbers,

acquisition of certain evidence, other identifying information, and material that would reveal

sensitive, non-public references to the DEA’s Agents’ Manual,” id. ¶ 41.

        Once again, the supporting declaration is lacking in detail. While certain information,

such as NADDIS numbers and G-DEP identifiers, ordinarily is protected under Exemption 7(E),

see, e.g., Chavis v. U.S. Dep’t of Justice, No. 20-CV-0638, 2021 WL 1668069, at *8 (D.D.C.

Apr. 28, 2021) (concluding that G-DEP and NADDIS codes are “routinely and appropriately

withheld” under Exemption 7(E)), appeal docketed, No. 21-5150 (D.C. Cir. June 30, 2021), the

DEA fails to demonstrate that the remaining information properly has been withheld. The DEA

asserts in vague terms that “information regarding and debriefings with . . . sources, as well as

related files . . . , acquisition of certain evidence, other identifying information, and material that

would reveal sensitive, non-public references to the DEA’s Agent’s Manual . . . would reveal . . .

law enforcement techniques.” Hertel Decl. ¶ 41. While DEA’s position may have merit, it has

not demonstrated that it is entitled to summary judgment, as an agency must “at least provide

some explanation of what procedures are involved and how they would be disclosed[,]” if the



                                                  12
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 13 of 15




withheld documents were released to the plaintiff. Citizens for Responsibility & Ethics in

Washington, 746 F.3d at 1102. From what has been provided, the Court can neither determine

whether Exemption 7(E) applies with respect to the information withheld, nor whether any

reasonably segregable information can be disclosed. See, e.g., Kowal, 2021 WL 3363445, at *6

(finding that, due to “brevity and vagueness” of declaration, the Court could not determine “what

law enforcement procedures are at stake and how references to the DEA Agents’ Manual might

disclose those procedures”).

               5. Exemption 7(F)

       Exemption 7(F) protects from disclosure information contained in law enforcement

records that “could reasonably be expected to endanger the life or physical safety of any

individual.” 5 U.S.C. § 552(b)(7)(F). This Circuit has observed that the exemption’s “language

is very broad,” and that it “does not require that a particular kind of individual be at risk of harm;

‘any individual’ will do.” Public Employees for Environmental Responsibility v. U.S. Section,

Int’l Boundary & Water Comm’n, U.S.-Mexico, 740 F.3d 195, 205 (D.C. Cir. 2014); see Elec.

Priv. Info. Ctr. v. U.S. Dep’t of Homeland Sec., 777 F.3d 518, 525 (D.C. Cir. 2015) (noting that

“the phrase ‘any individual’” makes clear that Exemption 7(F) now shields the life or physical

safety of any person, not only the law enforcement personnel protected under the pre–1986

version of the statute”). “In reviewing claims under Exemption 7(F), courts have inquired

whether or not there is a nexus between disclosure and possible harm and whether the deletions

were narrowly made to avert the possibility of such harm.” Berard v. Fed. Bureau of Prisons,

209 F. Supp. 3d 167, 174 (D.D.C. 2016) (citing Albuquerque Pub. Co. v. U.S. Dep’t. of Justice,

726 F. Supp. 851, 858 (D.D.C. 1989)).

       The DEA relies on Exemption 7(F) to withhold “[t]he names of DEA Special Agents,



                                                  13
        Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 14 of 15




other law enforcement personnel, and names of individuals involved in criminal

investigations[.]” Hertel Decl. ¶ 46. The declarant explains that “DEA Special Agents are

frequently called upon to conduct a wide variety of investigations, including sensitive and

dangerous undercover operations,” and “routinely approach and associate with violators in a

covert capacity.” Id. ¶ 47. Violators are often armed and “have known violent tendencies.” Id.

Further, she explains, in the DEA’s experience, “violence is inherent in the drug trade, and the

release of the identities of law enforcement officers has resulted in several instances of physical

attacks, threats, harassment, murder, and attempted murder.” Id. ¶ 48. For these reasons, the

DEA asserts Exemption 7(F) to protect its Special Agents and the “other individuals involved in

criminal investigations,” so that they are not “subject[ed] to harassment, reprisal or physical

retaliation” for having been involved in the investigation. Id.

       The DEA applies Exemption 7(F) “to information in many of the records that were

withheld in full pursuant to other exemptions.” Id. ¶ 49. For example, it applies Exemption 7(F)

“typically in conjunction with Exemptions 6 and 7(C).” Id. ¶ 46. Insofar as the DEA relies on

Exemptions 7(C) and 7(F) to withhold the names of and identifying information about DEA

Special Agents and other law enforcement officers, see generally id., Ex. A (Vaughn Index), the

withholdings are proper. Less clear, however, is the DEA’s reliance on Exemption 7(F) to

withhold a category of information designated “Identifying Information of Internal

Indexing/Numbering Systems: Group No.” See id., Ex. A at 2 (ECF No. 33-1 at 31). It appears

that this category of information may be withheld in conjunction with Exemption 7(E), but

further explanation is needed before the Court can reach that conclusion.




                                                 14
       Case 1:19-cv-00104-RBW Document 36 Filed 12/06/21 Page 15 of 15




III. CONCLUSION

       The DEA has demonstrated that its searches for responsive records were adequate and

that its decision to withhold information under Exemptions 7(C) and 7(D) is appropriate.

However, the DEA’s explanations regarding its withholdings under Exemptions 7(E) and 7(F)

are inadequate.

       Accordingly, it is hereby

       ORDERED that the plaintiff’s Motion to Strike Defendant’s Request for Summary

Judgment [35] is construed as the plaintiff’s opposition to the defendant’s motion for summary

judgment and is DENIED. It is

       FURTHER ORDERED that the Defendant’s Motion for Summary Judgment [33] is

GRANTED IN PART and DENIED IN PART WITHOUT PREJUDICE. It is

       FURTHER ORDERED that the defendant shall file a renewed motion for summary

judgment by January 31, 2022.

       SO ORDERED this 6th day of December, 2021.



                                                           /s/
                                                           REGGIE B. WALTON
                                                           United States District Judge




                                               15
